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  7 COMPANY

  8

  9                                 UNITED STATES DISTRICT COURT
 10             CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
 11

 12 BOB CAMPBELL RANCHES, INC., a                 Case No. 2:15-cv-9118-R-GJS
      California Corporation,
 13                                               [Assigned to Hon. Manuel L. Real]
                           Plaintiff,
 14                                                DEFENDANT UNITED STATES
                v.                                 FIRE INSURANCE COMPANY’S
 15                                                NOTICE OF MOTIONS AND
      UNITED STATES FIRE INSURANCE                 MOTIONS TO DISMISS FOURTH
 16 COMPANY, a Delaware Corporation;               AND FIFTH CLAIMS FOR RELIEF
      CRUM AND FORSTER, a New Jersey               AND TO STRIKE ALLEGATIONS
 17 Corporation; and DOES 1 through 50,            RE PUNITIVE DAMAGES AND A
      inclusive,                                   NON-EXISTENT NAMED
 18                                                DEFENDANT; MEMORANDUM OF
                           Defendants.             LAW IN SUPPORT THEREOF
 19
                                                   [Request for Judicial Notice Filed
 20                                                Concurrently Herewith]
 21                                                Date: January 19, 2016
                                                   Time: 10:00 a.m.
 22                                                Courtroom: 8
 23                                                Complaint Filed: September 30, 2015
                                                   Case Removed: November 24, 2015
 24

 25

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 28
      10201.001/108734.1
       NOTICE OF MOTIONS AND MOTIONS TO DISMISS FOURTH AND FIFTH CLAIMS FOR RELIEF AND
       TO STRIKE ALLEGATIONS RE PUNITIVE DAMAGES AND A NON-EXISTENT NAMED DEFENDANT
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                                                                                             1             TO THE PLAINTIFF AND HIS ATTORNEYS OF RECORD:
                                                                                             2             PLEASE TAKE NOTICE that on January 19, 2016 at 10:00 a.m., or as soon
                                                                                             3 thereafter as counsel may be heard, in Courtroom 8 of the above-entitled court,

                                                                                             4 located at 312 N. Spring Street, Los Angeles, California 90012, Defendant United

                                                                                             5 States Fire Insurance Company (“U.S. Fire”) will move this Court for an order

                                                                                             6 dismissing the fourth and fifth claims for relief in the Complaint pursuant to Federal

                                                                                             7 Rules of Civil Procedure, Rule 12(b)(6), as well as striking (i) the punitive damages

                                                                                             8 allegations from the second, third and fourth claims for relief, and (ii) the references

                                                                                             9 to non-existent defendant “Crum and Forster, Inc.” throughout the Complaint

                                                                                            10 pursuant to Federal Rules of Civil Procedure, Rule 12(f).1

                                                                                            11             U.S Fire’s motions to dismiss and to strike will be based on this notice, the
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                                                                                            12 motion to dismiss and motion to strike, below, the memorandum of law attached
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                                                                                            13 hereto, such oral and documentary evidence as shall be introduced at the time of the

                                                                                            14 hearing, and all papers and pleadings on file herein.

                                                                                            15

                                                                                            16                                        MOTION TO DISMISS
                                                                                            17             U.S. Fire moves to dismiss the fourth and fifth claims for relief in Plaintiff
                                                                                            18 Bob Campbell Ranches, Inc.’s (“BCR”) Complaint pursuant to Federal Rules of
                                                                                            19 Civil Procedure, Rule 12(b)(6) on the following grounds:

                                                                                            20             1.         BCR’s Fourth Claim for Relief for fraudulent concealment fails to
                                                                                            21 allege facts upon which relief may be granted in that U.S. Fire had no duty to

                                                                                            22 disclose the matters that were allegedly concealed; and

                                                                                            23

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                                                                                                 1
                                                                                            26   This case has been removed from state court. In the Complaint which was filed in
                                                                                               state court, Plaintiff BCR refers to its claims as causes of action. Throughout this
                                                                                            27 motion and accompanying memorandum of law, U.S. Fire refers to BCR’s causes of
                                                                                               action as claims for relief consistent with federal court nomenclature.
                                                                                            28
                                                                                                 10201.001/108734.1                                1
                                                                                                  NOTICE OF MOTIONS AND MOTIONS TO DISMISS FOURTH AND FIFTH CLAIMS FOR RELIEF AND
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                                                                                             1             2.         BCR’s Fifth Claim or Relief for negligence fails to allege facts upon
                                                                                             2 which relief may be granted in that U.S. Fire’s claim handling duties were

                                                                                             3 contractual and not subject to an independent tort duty of care.

                                                                                             4

                                                                                             5                                         MOTION TO STRIKE
                                                                                             6             U.S. Fire moves to strike the following portions of BCR’s complaint pursuant
                                                                                             7 to Federal Rules of Civil Procedure, Rule 12(f) on the following grounds:

                                                                                             8             1.         The punitive damages allegations in BCR’s Second and Third Claims
                                                                                             9 for Relief (Complaint, ¶s 32 and 39) are “immaterial” and “impertinent” under Rule

                                                                                            10 12(f) in that they are contract claims on which no punitive damages may be

                                                                                            11 awarded;
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                                                                                            12             2.         The punitive damages allegation in BCR’s Fourth Claim for Relief for
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                                                                                            13 fraudulent concealment (Complaint, ¶ 47) is “immaterial” and “impertinent” under

                                                                                            14 Rule 12(f) in that U.S. Fire had no duty to disclose the matters that were allegedly

                                                                                            15 concealed and, in the absence of a duty of disclosure, the non-disclosure cannot be

                                                                                            16 characterized as conduct that satisfies any of the “oppression, fraud, or malice”

                                                                                            17 prerequisites for an award of punitive damages; and

                                                                                            18             3.         The reference to non-existent named defendant “Crum and Forster,
                                                                                            19 Inc.” in the caption of BCR’s Complaint, the entirety of paragraph 3 of the

                                                                                            20 Complaint which alleges the existence and residency of non-existent named

                                                                                            21 defendant “Crum and Forster, Inc.”, and the reference to non-existent named

                                                                                            22 defendant “Crum and Forster, Inc.” in paragraph 20 of the Complaint.

                                                                                            23

                                                                                            24             These motions to dismiss and to strike are made after compliance with
                                                                                            25 Central District Local Rule 7-3, which took place on November 23, 2015.

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                                                                                                 10201.001/108734.1                                2
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                                                                                             1 Dated: December 1, 2015             STECKBAUER WEINHART, LLP
                                                                                             2

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                                                                                             4
                                                                                                                                   By:        /s/ Johm C. Holmes
                                                                                                                                              John C. Holmes
                                                                                             5                                     Attorneys for Defendant UNITED STATES
                                                                                             6                                     FIRE INSURANCE COMPANY
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                                                                                                    MEM. OF LAW IN SUPPORT OF MOTIONS TO DISMISS FOURTH AND FIFTH CLAIMS FOR RELIEF
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                                                                                             1                                  MEMORANDUM OF LAW
                                                                                             2             1.         INTRODUCTION
                                                                                             3             This is an unusual insurance case – instead of alleging that its insurer denied
                                                                                             4 or underpaid claims, the insured alleges that its insurer overpaid claims.

                                                                                             5 Specifically, Bob Campbell Ranches, Inc. (“BCR”) has sued its workers’

                                                                                             6 compensation insurance company, United States Fire Insurance Company (“U.S.

                                                                                             7 Fire”), for allegedly setting aside too much money to make future payments to its

                                                                                             8 injured workers and, ultimately, paying too much money to those injured workers.

                                                                                             9             BCR contends that U.S Fire over-reserved and overpaid claims so that it
                                                                                            10 could charge BCR higher premiums. However, under California’s workers’

                                                                                            11 compensation rating laws, claim payments under one policy do not begin to affect
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                                                                                            12 an insured’s premiums until two policy years later. No insurer would set out to
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                                                                                            13 overpay claims in the hope of increasing the insured’s premiums two years later

                                                                                            14 because the excess claim payments may not translate into an equivalent amount of

                                                                                            15 increased premiums and there is nothing to prevent the insured from switching

                                                                                            16 insurers so that the subsequent higher premiums are paid to a different insurer.

                                                                                            17             BCR’s Fourth Claim for Relief for fraudulent concealment should be
                                                                                            18 dismissed because, under California law, one party to a transaction has no duty to
                                                                                            19 disclose material facts to the other in the absence of a fiduciary relationship between

                                                                                            20 the parties. Under California law, insurers are not fiduciaries to insureds and,

                                                                                            21 therefore, U.S. Fire had no duty to disclose the matters that were allegedly

                                                                                            22 concealed. In the absence of such a duty, there can be no fraudulent concealment.

                                                                                            23             BCR’s Fifth Claim for Relief for negligence should be dismissed because it is
                                                                                            24 based on U.S. Fire’s alleged mishandling of claims and, although an insurer’s

                                                                                            25 mishandling of claims can constitute a breach of contract and, under some

                                                                                            26 circumstances, bad faith, mishandling claims cannot constitute negligence.

                                                                                            27 / / /

                                                                                            28   10201.001/108734.1                             1
                                                                                                  MEM. OF LAW IN SUPPORT OF MOTIONS TO DISMISS FOURTH AND FIFTH CLAIMS FOR RELIEF
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                                                                                                                                    DEFENDANT
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                                                                                             1             BCR has requested punitive damages in it Second, Third and Fourth Claims
                                                                                             2 for Relief. The Second and Third Claims for Relief sound in contract and, under

                                                                                             3 California law, punitive damages cannot be awarded on contract claims. Thus, the

                                                                                             4 punitive damages allegations at Paragraphs 32 and 39 of the complaint should be

                                                                                             5 stricken. The Fourth Claim for Relief is for fraudulent concealment. However, U.S.

                                                                                             6 Fire had no duty to disclose the allegedly concealed matters. In the absence of a

                                                                                             7 duty of disclosure, the non-disclosure cannot be characterized as conduct that

                                                                                             8 satisfies any of the “oppression, fraud, or malice” prerequisites for an award of

                                                                                             9 punitive damages. Therefore, the punitive damages allegation in Paragraph 47 of

                                                                                            10 the complaint should be stricken.

                                                                                            11             Finally, BCR has named as a defendant in this case “Crum and Forster, Inc.”
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                                                                                            12 which is an entity that has not existed since 1993. Accordingly, that entity did not
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                                                                                            13 exist at any time relevant to BCR’s purchase of workers’ compensation insurance

                                                                                            14 policies from U.S. Fire in April 2011 and April 2012. Because the non-existent

                                                                                            15 “Crum and Forster, Inc.” could not have been involved in BCR’s purchase of the

                                                                                            16 policies, all references to it should be stricken from the complaint as “immaterial”

                                                                                            17 and/or “impertinent.”

                                                                                            18             2.         BACKGROUND
                                                                                            19                        A.   Plaintiff’s General Allegations
                                                                                            20             The bases for all of BCR’s claims are two workers’ compensation insurance
                                                                                            21 policies (the “Policies”), which are attached as Exhibits A and B to the Complaint.

                                                                                            22 An examination of the Policies demonstrates that U.S. Fire is the only entity that

                                                                                            23 contracted with BCR and is liable on the policies. However, in addition to U.S.

                                                                                            24 Fire, BCR has purported to name “Crum and Forster, Inc.” as a defendant. Yet, the

                                                                                            25 Policies reveal that “Crum and Forster, Inc.” is not a contracting party.

                                                                                            26 Fundamentally, no such entity exists. See United States Fire Insurance Company’s

                                                                                            27 Request for Judicial Notice in Support of Motion to Strike, Exh. “A” at pp. 3, 4, 6-8.

                                                                                            28   10201.001/108734.1                              2
                                                                                                  MEM. OF LAW IN SUPPORT OF MOTIONS TO DISMISS FOURTH AND FIFTH CLAIMS FOR RELIEF
                                                                                                   AND/OR TO STRIKE SPECIFIED ALLEGATIONS RE PUNITIVE DAMAGES AND NON-EXISTENT
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                                                                                             1             BCR alleges that it purchased the two Policies and that one was in effect from
                                                                                             2 April 1, 2011 to April 1, 2012, and one was in effect from April 1, 2012 to April 1,

                                                                                             3 2013. Complaint¸ ¶s 9 and 10. An unspecified number of unidentified claims are

                                                                                             4 alleged to have been made under these policies by BCR’s injured workers.

                                                                                             5 Complaint¸ ¶ 11. “Defendants” are alleged to have mishandled these claims in a

                                                                                             6 laundry list of ways. Complaint¸ ¶ 13.

                                                                                             7             The alleged claim mishandling includes, among other things, failing to (i)
                                                                                             8 “evaluate claims”, (ii) “identify fraudulent claims”, (iii) “minimize litigated claims”,

                                                                                             9 (iv) “retain competent … adjusters, experts, and legal counsel”, (v) “monitor the

                                                                                            10 status of claims”, (vi) “properly investigate and resolve claims”, (vii) “paying

                                                                                            11 medical bills unrelated to employee workers’ compensation claims”, (viii) failing to
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                                                                                            12 timely deny claims. Complaint¸ ¶ 13, subparagraphs a), c), f). g), h), j)-l), x), and
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                                                                                            13 y), respectively.

                                                                                            14             Although BCR does not explicitly allege that the claim mishandling resulted
                                                                                            15 in the overpayment of claims, BCR does allege that it resulted in its Experience

                                                                                            16 Modifier (“Ex Mod”) being increased. Complaint¸ ¶s 16, 18, 20. As explained

                                                                                            17 below, an Ex Mod is calculated for each employer in California by the California

                                                                                            18 Workers’ Compensation Insurance Rating Bureau (“WCIRB”), which is an agent of
                                                                                            19 the California Insurance Commissioner. Each employer’s Ex Mod is intended to

                                                                                            20 reflect the riskiness of its operations in terms of workers’ compensation claim costs.

                                                                                            21 The Ex Mod is applied to the employer’s workers’ compensation insurance rate to

                                                                                            22 either raise or lower its premiums. An Ex Mod increases and raises an employer’s

                                                                                            23 premiums after that employer’s claim costs increase. Thus, by alleging that

                                                                                            24 “Defendants’” claim mishandling wrongfully increased its Ex Mod, BCR is

                                                                                            25 necessarily alleging that the claim mishandling resulted in overpayment of claims.

                                                                                            26 Notably, BCR nowhere alleges that U.S. Fire failed to defend and indemnify it

                                                                                            27 against any claim.

                                                                                            28   10201.001/108734.1                            3
                                                                                                  MEM. OF LAW IN SUPPORT OF MOTIONS TO DISMISS FOURTH AND FIFTH CLAIMS FOR RELIEF
                                                                                                   AND/OR TO STRIKE SPECIFIED ALLEGATIONS RE PUNITIVE DAMAGES AND NON-EXISTENT
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                                                                                             1             In addition, “Defendants” are alleged to have set inaccurate reserves for the
                                                                                             2 claims by BCR’s injured workers. Allegedly they did so by, among other things,

                                                                                             3 (i) failing to monitor reserves, (ii) failing to properly adjust reserves,

                                                                                             4 (iii) inaccurately stating reserves, and (iv) setting reserves at an inflated level.

                                                                                             5 Complaint¸ ¶ 13, subparagraphs d), e), q), v), and w).

                                                                                             6             BCR alleges that the mishandling of claims and reserves resulted in an
                                                                                             7 increase in its Ex Mod and, hence, premiums. Complaint¸ ¶s 16, 18.

                                                                                             8             Based on the foregoing alleged misconduct, BCR asserts causes of action for
                                                                                             9 tortious bad faith, contractual bad faith, breach of contract, fraudulent concealment,

                                                                                            10 negligence, and unfair competition under California’s Unfair Competition Law

                                                                                            11 (“UCL”). See, California Business and Professions Code § 17200, et seq.
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                                                                                            12                        B.   How Claims Impact Premiums 2
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                                                                                            13             Since 1995, California allows each workers’ compensation insurance
                                                                                            14 company to set its own rates as long as they are filed with the Department of

                                                                                            15 Insurance, and not disapproved as being too low. Jobs in California are divided into

                                                                                            16 risk classes so that, for example, clerical workers are in a lower or less risky class

                                                                                            17 than roofers. Different rates apply to the different classes and reflect the riskiness of

                                                                                            18 jobs within each class.
                                                                                            19             In general, workers' compensation insurance premiums are calculated by
                                                                                            20 multiplying the amount of the employer’s payroll for each risk class of its

                                                                                            21 employees by the rate applicable to each class of worker used by that employer.

                                                                                            22 This is sometimes referred to as the "Basic Premium". To determine the final

                                                                                            23
                                                                                                 2
                                                                                            24   The information in the following subsection of this Memorandum of Law is not
                                                                                               alleged in BCR, Inc.’s Complaint and is not relied upon as a basis for the dismissal
                                                                                            25 of BCR, Inc.’s fourth and fifth claims for relief or for striking the punitive damages
                                                                                               allegations in Paragraphs 32, 39 and 47 of the Complaint or the references to non-
                                                                                            26 existent named defendant “Crum and Forster, Inc.” in the caption and Paragraphs 3
                                                                                               and 20 of the Complaint. Rather, it is provided in order to provide context for
                                                                                            27 BCR’s allegations and for U.S. Fire’s arguments below.

                                                                                            28   10201.001/108734.1                            4
                                                                                                     MEM. OF LAW IN SUPPORT OF MOTIONS TO DISMISS FOURTH AND FIFTH CLAIMS FOR RELIEF
                                                                                                      AND/OR TO STRIKE SPECIFIED ALLEGATIONS RE PUNITIVE DAMAGES AND NON-EXISTENT
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                                                                                             1 premium, the Basic Premium may be multiplied by various factors included in the

                                                                                             2 insurer’s rate filing, including a merit rating modifier and a premium discount. The

                                                                                             3 insurer is also required to apply the Ex Mod calculated by the WCIRB for each

                                                                                             4 employer to that employer’s final premium.

                                                                                             5             The Ex Mod is a multiplier that is used to adjust the Basic Premium to reflect
                                                                                             6 the particular employer’s own claims experience. An Ex Mod of less than 100%

                                                                                             7 reflects a better than average claims history and reduces the premium an employer

                                                                                             8 pays below the Basic Premium. An Ex Mod of more than 100% reflects worse than

                                                                                             9 average claims history and increases the employer’s premium.

                                                                                            10             The rules for calculating Ex Mods are set forth in the California Workers’
                                                                                            11 Compensation Experience Rating Plan, which is set forth in Title 10, California
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                                                                                            12 Code of Regulations, Section§ 2353.1. The Workers’ Compensation Experience
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                                                                                            13 Rating Plan is administered by the WCIRB -- the California Insurance

                                                                                            14 Commissioner’s designated statistical agent. The WCIRB is the sole entity

                                                                                            15 responsible for calculating an employer’s Ex Mod. A workers’ compensation

                                                                                            16 insurer simply reports its insured employers’ claim costs and payroll information to

                                                                                            17 the WCIRB, which in turn calculates the Ex Mod that will be used to calculate the

                                                                                            18 employers’ future premiums.
                                                                                            19             Because the claim costs associated with a workplace injury increase over time
                                                                                            20 as the injured worker is treated and rehabilitated, the Ex Mod calculation uses data

                                                                                            21 from policy periods that are two or more years in the past. More specifically, the Ex

                                                                                            22 Mod calculation considers an employer’s claim cost experience from policy periods

                                                                                            23 that incepted during the “Experience Modification Rating Period.” The “Experience

                                                                                            24 Modification Rating Period” is a three-year period that begins four years and nine

                                                                                            25 months and ends one year and nine months prior to the inception of the current

                                                                                            26 policy to which the Ex Mod will apply. See, 10 California Code of Regulations, §

                                                                                            27 2353.1, Section III. The WCIRB calculates a new Ex Mod for each employer for

                                                                                            28   10201.001/108734.1                            5
                                                                                                  MEM. OF LAW IN SUPPORT OF MOTIONS TO DISMISS FOURTH AND FIFTH CLAIMS FOR RELIEF
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                                                                                             1 each new policy period.

                                                                                             2             An employer’s Ex Mod is a percentage derived by dividing its actual incurred
                                                                                             3 losses over a three year period by actuarially expected losses for that same period.

                                                                                             4 The expected losses are based on the exposure represented by the employer’s

                                                                                             5 payroll and the WCIRB’s expected loss rate for payroll in that same industry. In

                                                                                             6 this way, an employer’s loss experience essentially is compared to the loss

                                                                                             7 experience of actuarially similar employers in the same industry. Thus, in general,

                                                                                             8 if an employer has fewer claims than expected, it will have an experience

                                                                                             9 modification below 100%, and will pay less in premiums than an employer who has

                                                                                            10 more claims than expected. The experience modification provides an economic

                                                                                            11 incentive for employers to maintain a safe working environment.
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                                                                                            12             In order for the WCIRB to calculate the experience modification for
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                                                                                            13 employers, each insurer submits reports to the WCIRB at regular intervals

                                                                                            14 concerning incurred losses, payroll and premium information. The WCIRB uses

                                                                                            15 this information to determine advisory rates, expected loss rates, and to calculate

                                                                                            16 each insured's Ex Mod. These reports are first made six months after the end of the

                                                                                            17 policy and then each year thereafter. Thus, the incurred losses for a given policy

                                                                                            18 year will affect premium for the last three years of the four years after the policy
                                                                                            19 ends. So, for example, the losses for claims made during the 2011 policy year can

                                                                                            20 only be used in experience modifications for the 2013, 2014 and 2015 policy years.

                                                                                            21             The incurred loss portion of each insurer’s statistical report to the WCIRB
                                                                                            22 essentially represents a “snapshot” of the claims as of the valuation dates. An

                                                                                            23 incurred loss includes: (1) actual losses paid to-date, and (2) estimated future loss

                                                                                            24 reserves. "Loss reserves . . . represent the amount anticipated to be sufficient to pay

                                                                                            25 all obligations for which the insurer may be responsible under the policy with

                                                                                            26 respect to a particular claim." Lipton v. Superior Court, 48 Cal.App.4th 1599

                                                                                            27 (1996) ("The main purpose of a loss reserve is to comply with statutory

                                                                                            28   10201.001/108734.1                            6
                                                                                                  MEM. OF LAW IN SUPPORT OF MOTIONS TO DISMISS FOURTH AND FIFTH CLAIMS FOR RELIEF
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                                                                                             1 requirements [Cal. Ins. Code § 923.5] and to reflect, as accurately as possible, the

                                                                                             2 insured's potential liability.") "[A] particular reserve amount may be substantially

                                                                                             3 more or less than the amount ultimately paid on a particular claim." Id.

                                                                                             4 Accordingly, when reporting reserves to the WCIRB for use in calculating

                                                                                             5 experience modifications, an insurer must report the full amount that it paid on each

                                                                                             6 claim as of the date of the report plus an estimate of its potential future liability

                                                                                             7 based only on information known to it as of date of the report. For this reason, there

                                                                                             8 is not a particular reserve amount that is appropriate but, rather, there is "an

                                                                                             9 acceptable range of reserves a carrier ... [can] set without incurring liability." Lance

                                                                                            10 Camper Mfg. Corp. v. Republic Indemnity Co., 90 Cal. App. 4th 1151, 1155 (2001).

                                                                                            11             3.         APPLICABLE MOTION STANDARDS
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                                                                                            12                        A.   The Rule 12(b)(6) Standard for Dismissing Claims
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                                                                                            13             A Rule 12(b)(6) motion tests the legal sufficiency of the claims asserted in a
                                                                                            14 complaint. In reviewing a motion to dismiss for failure to state a claim, the

                                                                                            15 allegations of the complaint are accepted as true. See, Wyler Summit Partnership v.

                                                                                            16 Turner Broadcasting Systems, Inc., 135 F.3d 658, 661 (9th Cir. 1998). Dismissal

                                                                                            17 under Rule 12(b)(6) is proper where “it appears beyond doubt that the plaintiff can

                                                                                            18 prove no set of facts in support of his claim which would entitle him to relief.”
                                                                                            19 Conley v. Gibson, 355 U.S. 41, 45-46 (1957); Moore v. City of Costa Mesa, 886

                                                                                            20 F.2d 260, 262 (9th Cir. 1989). BCR’s fourth and fifth claims for relief are fatally

                                                                                            21 defective.

                                                                                            22             As to BCR’s fourth claim for relief for fraudulent concealment, U.S. Fire did
                                                                                            23 not have a duty to disclose the matters which BCR alleges were not disclosed. As to

                                                                                            24 BCR’s fifth claim for relief for negligence, BCR does not allege a cognizable duty

                                                                                            25 upon which to base a negligence claim.

                                                                                            26 / / /

                                                                                            27 / / /

                                                                                            28   10201.001/108734.1                            7
                                                                                                  MEM. OF LAW IN SUPPORT OF MOTIONS TO DISMISS FOURTH AND FIFTH CLAIMS FOR RELIEF
                                                                                                   AND/OR TO STRIKE SPECIFIED ALLEGATIONS RE PUNITIVE DAMAGES AND NON-EXISTENT
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                                                                                             1                        B.   The Rule 12(f) Standard for Striking Material from the
                                                                                             2                             Complaint
                                                                                             3             Rule 12(f) authorizes the Court to "strike from a pleading an insufficient
                                                                                             4 defense or any redundant, immaterial, impertinent, or scandalous matter." "The

                                                                                             5 function of a 12(f) motion to strike is to avoid the expenditure of time and money

                                                                                             6 that must arise from litigating spurious issues by dispensing with those issues prior

                                                                                             7 to trial . . . ." Whittlestone, Inc. v. Handi-Craft Co., 618 F.3d 970, 973 (9th Cir.

                                                                                             8 2010), quoting Fantasy, Inc. v. Fogerty, 984 F.2d 1524, 1527 (9th Cir. 1993).

                                                                                             9             Under Rule 12(f), an “immaterial matter” is one that “has no essential or
                                                                                            10 important relationship to the claim for relief or the defenses being plead."

                                                                                            11 Whittlestone, supra at 974; quoting 5A Charles A. Wright & Arthur R. Miller,
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                                                                                            12 FEDERAL PRACTICE AND PROCEDURE § 1382, at 706-07 (1990). In other words,
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                                                                                            13 “’Immaterial’ means that the matter has no bearing on the controversy before the

                                                                                            14 court.” In re 2TheMart.com, Inc. Securities Litigation, 114 F.Supp.2d 955, 965

                                                                                            15 (C.D. Cal. 2000).

                                                                                            16             Further, an “impertinent matter” “consists of statements that do not pertain,
                                                                                            17 and are not necessary, to the issues in question." Whittlestone, supra at 974.

                                                                                            18 “’Impertinent’ has been defined as allegations that are … irrelevant to the issues that
                                                                                            19 arise in the action and which are inadmissible as evidence.” In re 2TheMart.com,

                                                                                            20 supra at 965.

                                                                                            21 / / /

                                                                                            22 / / /

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                                                                                            28   10201.001/108734.1                             8
                                                                                                  MEM. OF LAW IN SUPPORT OF MOTIONS TO DISMISS FOURTH AND FIFTH CLAIMS FOR RELIEF
                                                                                                   AND/OR TO STRIKE SPECIFIED ALLEGATIONS RE PUNITIVE DAMAGES AND NON-EXISTENT
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                                                                                             1             4.         BCR’S FOURTH AND FIFTH CLAIMS FOR RELIEF ARE
                                                                                             2                        DEFECTIVE BECAUSE THEY ARE PREMISED ON THE
                                                                                             3                        BREACH OF NON-EXISTENT DUTIES
                                                                                             4                        A.   BCR’s Fourth Claim for Fraudulent Concealment Should be
                                                                                             5                             Dismissed Because U.S. Fire had no Duty to Disclose the
                                                                                             6                             Matters that BCR alleges were Concealed
                                                                                             7             The heart of BCR’s claim that U.S. Fire fraudulently concealed information is
                                                                                             8 its allegations that “Defendants failed to disclose to Plaintiff Defendants’ internal

                                                                                             9 reserving and claims handling policies in order to induce Plaintiff to enter into the

                                                                                            10 Policies” and “[h]ad the information been disclosed, Plaintiff would not have

                                                                                            11 purchased the policies. Complaint, ¶s 42 and 45. Despite BCR’s allegation that
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                                                                                            12 “Plaintiff and Defendants were in the relationship of an insurer-insured”
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                                                                                            13 (Complaint, ¶ 41), it is clear that the operative non-disclosure occurred before that

                                                                                            14 relationship existed. Plaintiff alleges that the non-disclosure was made to “induce

                                                                                            15 Plaintiff to enter into the Policies.” Accordingly, this claim refers to non-disclosures

                                                                                            16 prior to the time the parties entered into the Policies.

                                                                                            17             When fraud is based on omissions, its validity “depends on allegations that
                                                                                            18 would establish some duty of disclosure on the part of defendant.” Goodman v.
                                                                                            19 Kennedy, 18 Cal.3d 335, 346 (1976). “The general rule is that even if material facts

                                                                                            20 were known to one party and not the other, the failure to disclose the facts is usually

                                                                                            21 not actionable fraud absent a fiduciary relationship giving rise to a duty to disclose.”

                                                                                            22 Pastoria v. Nationwide Ins., 112 Cal.App.4th 1490, 1499 (2003); Lovejoy v. AT&T

                                                                                            23 Corp., 119 Cal. App. 4th 151, 158 (2004)); LiMandri v. Judkins, 52 Cal.App.4th 326,

                                                                                            24 336 (1997); 5 Witkin, Summary 10th (2005) Torts, § 794, p. 1149. Here, U.S. Fire

                                                                                            25 did not owe BCR, Inc. any fiduciary duty and, therefore, had no duty to disclose the

                                                                                            26 matters that BCR, Inc. alleges were concealed.

                                                                                            27 / / /

                                                                                            28   10201.001/108734.1                             9
                                                                                                  MEM. OF LAW IN SUPPORT OF MOTIONS TO DISMISS FOURTH AND FIFTH CLAIMS FOR RELIEF
                                                                                                   AND/OR TO STRIKE SPECIFIED ALLEGATIONS RE PUNITIVE DAMAGES AND NON-EXISTENT
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                                                                                             1                           1.     Prior to Entering Into an Insurance Contract, U.S. Fire
                                                                                             2                                  Owed BCR No Duty of Disclosure
                                                                                             3             In California Service Station Assn. v. American Home Assurance Co., 62
                                                                                             4 Cal.App.4th 1166, 1173 (1998), the court rejected the notion that “an insurer owes a

                                                                                             5 duty to disclose information about premium pricing to potential policyholders.” In

                                                                                             6 that case, the insured negotiated with the insurer to provide dividend-paying

                                                                                             7 workers’ compensation policies. During negotiations, the insurer described factors

                                                                                             8 that it used in the past and likely factors it would use in the future to calculate

                                                                                             9 dividends. The insurer did not guarantee or represent that these factors would in

                                                                                            10 fact be used in the future to calculate dividends. Approximately 18 months later, the

                                                                                            11 insured learned that dividends were calculated differently than it expected. The
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                                                                                            12 court held that “[n]either the Legislature nor the courts have created a duty of care
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                                                                                            13 requiring the disclosure of dividend calculation information during arm’s-length

                                                                                            14 negotiations for insurance contracts.” Id. at 1173 (emphasis added). The court

                                                                                            15 explained:

                                                                                            16
                                                                                                             “There is no duty of ordinary care to disclose pricing information
                                                                                            17
                                                                                                             during arm’s-length contract negotiations. … There is also no
                                                                                            18
                                                                                                             special duty in the relationship between an insurer and a potential
                                                                                            19
                                                                                                             insured. The relationship between an insurer and a prospective
                                                                                            20
                                                                                                             insured is not a fiduciary relationship. ‘[A]n insured person's initial
                                                                                            21
                                                                                                             decision to obtain insurance and the corresponding decision of an
                                                                                            22
                                                                                                             insurer to offer coverage remain, at the inception of the contract at
                                                                                            23
                                                                                                             least, an arm's length transaction to be governed by traditional
                                                                                            24
                                                                                                             standards of freedom to contract.’” Id. (emphasis added), citing
                                                                                            25
                                                                                                             Gibson v. Government Employees Ins. Co., 162 Cal. App. 3d 441,
                                                                                            26
                                                                                                             448 (1984).
                                                                                            27

                                                                                            28   10201.001/108734.1                              10
                                                                                                  MEM. OF LAW IN SUPPORT OF MOTIONS TO DISMISS FOURTH AND FIFTH CLAIMS FOR RELIEF
                                                                                                   AND/OR TO STRIKE SPECIFIED ALLEGATIONS RE PUNITIVE DAMAGES AND NON-EXISTENT
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                                                                                             1             In Gibson, supra, the insured alleged that the insurer violated its fiduciary
                                                                                             2 duty by failing to disclose the potential need for uninsured motorist coverage and

                                                                                             3 the inadequacy of medical payments coverage. The Gibson court held that whatever

                                                                                             4 heightened duties might exist between an insurer and its insured did not exist

                                                                                             5 between an insurer and a prospective insured. Gibson, supra, at 449-450 (emphasis

                                                                                             6 added). Therefore, “an insured person's initial decision to obtain insurance and the

                                                                                             7 corresponding decision of an insurer to offer coverage remain, at the inception of the

                                                                                             8 contract at least, an arm's length transaction to be governed by traditional standards

                                                                                             9 of freedom to contract.” Id. at 448.

                                                                                            10             Accordingly, prior to issuance of the first of the Policies, U.S. Fire and BCR
                                                                                            11 had no relationship other than that of two commercial entities negotiating and arms-
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                                                                                            12 length contract. As the cases discussed above demonstrate, there was no special
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                                                                                            13 duty of disclosure at that time. Accordingly, U.S. Fire cannot be liable for failing to

                                                                                            14 disclose its reserving and claim handling practices.

                                                                                            15                          2.     Even as BCR’s Insurer, U.S. Fire had No Duty to
                                                                                            16                                 Disclose the Matters that were Allegedly Concealed
                                                                                            17             Even if one accepts BCR’s allegation in paragraph 41 of the Complaint that
                                                                                            18 BCR and U.S. Fire were in an insurer-insured relationship, that still does not create
                                                                                            19 a duty to disclose the matters that BCR alleges were concealed.

                                                                                            20             “The general rule is that even if material facts were known to one party and
                                                                                            21 not the other, the failure to disclose the facts is usually not actionable fraud absent a

                                                                                            22 fiduciary relationship giving rise to a duty to disclose.” Pastoria, supra at 1499;

                                                                                            23 Lovejoy, supra at 158); LiMandri v. Judkins, 52 Cal.App.4th 326, 336 (1997); 5

                                                                                            24 Witkin, Summary 10th (2005) Torts, § 794, p. 1149. Here, U.S. Fire did not owe

                                                                                            25 BCR any fiduciary duty and, therefore, had no duty to disclose the matters that BCR

                                                                                            26 alleges were concealed.

                                                                                            27 / / /

                                                                                            28   10201.001/108734.1                             11
                                                                                                  MEM. OF LAW IN SUPPORT OF MOTIONS TO DISMISS FOURTH AND FIFTH CLAIMS FOR RELIEF
                                                                                                   AND/OR TO STRIKE SPECIFIED ALLEGATIONS RE PUNITIVE DAMAGES AND NON-EXISTENT
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                                                                                             1             U.S. Fire had no relationship with BCR other than as BCR’s workers’
                                                                                             2 compensation insurer. Under California law, the insurer-insured relationship is not

                                                                                             3 a fiduciary one. Tran v. Farmers Group, Inc., 104 Cal.App.4th 1202, 1212 (2002);

                                                                                             4 New Hampshire Co. v. Foxfire, 820 F. Supp. 489, 494 (N.D. Cal. 1993) (“California

                                                                                             5 law does not recognize the existence of a fiduciary duty between an insurer and an

                                                                                             6 insured.”); see also Croskey, et al., Cal. Practice Guide: Insurance Litigation (The

                                                                                             7 Rutter Group 2009) ¶ 11:146. In fact, “every case to squarely address the issue has

                                                                                             8 decided that indeed under California law no fiduciary duty is created between

                                                                                             9 insurers and insureds.” Bennett v. Allstate Ins. Co., 753 F. Supp. 299, 302 (N.D.

                                                                                            10 Cal. 1990); Vu v. Prudential Property & Casualty Ins. Co., 26 Cal. 4th 1142, 1150-

                                                                                            11 51 (2001); Love v. Fire Ins. Exchange, 221 Cal. App. 3d 1136, 1148 (1990); Hydro-
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                                                                                            12 Mill Co., Inc. v. Hayward, Tilton & Rolapp Ins. Associates, Inc., 115 Cal. App. 4th
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                                                                                            13 1145, 1158 (2004) (“Indeed, our Supreme Court has held that an insurer is not a

                                                                                            14 fiduciary”); Morris v. Paul Revere Life Ins. Co., 109 Cal. App. 4th 966, 973 (2003);

                                                                                            15 Henry v. Associated Indemnity Corp., 217 Cal. App. 3d 1405, 1418-19 (1990);

                                                                                            16 Solomon v. North Am. Life & Cas. Ins. Co., 151 F.3d 1132, 1138 (9th Cir. 1998);

                                                                                            17 Almon v. State Farm Fire & Casualty Co., 724 F. Supp. 765, 766 (S.D. Cal. 1989)

                                                                                            18 (“‘California law does not recognize a cause of action for breach of fiduciary duty
                                                                                            19 between an insured and an insurer because the law does not require the insurer to

                                                                                            20 place the insured’s interests before its own.”); Hassard v. Bonnington, Roger &

                                                                                            21 Huber v. Home Ins. Co., 740 F. Supp. 789, 791 (S.D. Cal. 1990). Because U.S. Fire

                                                                                            22 bore no fiduciary duty to BCR, it had no duty to disclose its reserving and claim

                                                                                            23 handling practices to BCR.

                                                                                            24             Because U.S. Fire had no duty to disclose its reserving and claim handling
                                                                                            25 policies to BCR, BCR’s fraudulent concealment claim should be dismissed.

                                                                                            26 / / /

                                                                                            27 / / /

                                                                                            28   10201.001/108734.1                           12
                                                                                                  MEM. OF LAW IN SUPPORT OF MOTIONS TO DISMISS FOURTH AND FIFTH CLAIMS FOR RELIEF
                                                                                                   AND/OR TO STRIKE SPECIFIED ALLEGATIONS RE PUNITIVE DAMAGES AND NON-EXISTENT
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                                                                                             1                        B.   BCR’s Fifth Claim Should be Dismissed Because an
                                                                                             2                             Insurer’s Mishandling of Claims Cannot Constitute
                                                                                             3                             Negligence
                                                                                             4             An action in negligence requires a showing that the defendant owed the
                                                                                             5 plaintiff a legal duty, that the defendant breached that duty, and that the breach was

                                                                                             6 a proximate or legal cause of injuries suffered by the plaintiff. Ann M. v. Pacific

                                                                                             7 Plaza Shopping Center, 6 Cal. 4th 666, 673 (1993). Here, a plain reading of the

                                                                                             8 Complaint and the Policies attached to it as exhibits demonstrates that the only

                                                                                             9 arguable “duty” owed by U.S. Fire to BCR was contractual, i.e., to defend and

                                                                                            10 indemnify BCR in accordance with the Policies’ terms. See e.g., Centennial Ins.

                                                                                            11 Co. v. United States Fire Ins. Co., 88 Cal. App. 4th 105, 115 (2001) (“An insurer’s
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                                                                                            12 obligations to an insured are governed by the contract of insurance between the
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                                                                                            13 parties.”). No other source of a duty owed by U.S. Fire to BCR is alleged.

                                                                                            14             Thus, U.S. Fire’s claim handling duties to BCR are contractual in nature. U.S
                                                                                            15 Fire could not have had a tort “duty of care” to handle claims other than as required

                                                                                            16 by the Policies’ terms. Centennial Ins. Co., supra, at 115. Thus, BCR’s claim

                                                                                            17 mishandling allegations can at most be read as asserting that U.S. Fire handled

                                                                                            18 claims in a fashion contrary to the Policies’ terms. However, while the failure to
                                                                                            19 handle claims in accordance with the Policies’ terms may be a breach of contract

                                                                                            20 and, under certain circumstances, bad faith, it cannot be negligence. See Benavides

                                                                                            21 v. State Farm General Ins. Co., 136 Cal. App. 4th 1241, 1250-51, 1253 (2006)

                                                                                            22 (“Negligence is not among the theories of recovery generally available against

                                                                                            23 insurers. Delay or failure to pay policy benefits may be actionable as a breach of

                                                                                            24 contract or bad faith, not negligence.”); Sanchez v. Lindsey Morden Claims Services,

                                                                                            25 Inc., 72 Cal. App. 4th 249, 254 (1999) (“Indeed, negligence is not among the

                                                                                            26 theories of recovery generally available against insurers….”). Moreover, an insured

                                                                                            27 can recover in tort against an insurer “for the improper handling of a claim only

                                                                                            28   10201.001/108734.1                            13
                                                                                                  MEM. OF LAW IN SUPPORT OF MOTIONS TO DISMISS FOURTH AND FIFTH CLAIMS FOR RELIEF
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                                                                                             1 upon a showing that the insurer acted in bad faith … such a showing requires

                                                                                             2 something more than simple negligence.” Adelman v. Associated International Ins.

                                                                                             3 Co., 90 Cal. App. 4th 352, 356 (2001) (emphasis in original). Here, the alleged

                                                                                             4 wrongful conduct all involves U.S. Fire mishandling claims. Under California law,

                                                                                             5 such misconduct cannot form the basis of a negligence claim.

                                                                                             6             Moreover, even outside the insurance context, the purported breach of a
                                                                                             7 contract alone does not give rise to a claim for negligence in any event. In

                                                                                             8 establishing this principle, the California Supreme Court has consistently held that

                                                                                             9 “conduct amounting to a breach of contract becomes tortious only when it also

                                                                                            10 violates a duty independent of the contract arising from principles of tort law.”

                                                                                            11 Robinson Helicopter Co., Inc. v. Dana Corp., 34 Cal. 4th 979, 989 (2004). In
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                                                                                            12 Robinson Helicopter, the Supreme Court stated:
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                                                                                            13
                                                                                                                      “[A] breach of contract is tortious only when some
                                                                                            14
                                                                                                                      independent duty arising from tort law is violated.
                                                                                            15
                                                                                                                      [Citation.] If every negligent breach of a contract gives
                                                                                            16
                                                                                                                      rise to tort damages the limitation would be meaningless,
                                                                                            17
                                                                                                                      as would the statutory distinction between tort and
                                                                                            18
                                                                                                                      contract remedies.” Id. at 989-990, citing Erlich v.
                                                                                            19
                                                                                                                      Menezes, 21 Cal. 4th 543, 553-554 (1999).
                                                                                            20

                                                                                            21             Here, BCR does not allege any conduct by U.S. Fire that would violate any
                                                                                            22 duty arising from tort law independent of whatever contractual duties U.S. Fire

                                                                                            23 would have had under the Policies. Because U.S. Fire’s only relationship with BCR

                                                                                            24 is through the Policies, there can be no such independent duty here. Accordingly,

                                                                                            25 because negligence is not an applicable theory of liability, U.S Fire’s motion to

                                                                                            26 dismiss BCR’s fifth claim for relief for negligence should be dismissed.

                                                                                            27 / / /

                                                                                            28   10201.001/108734.1                                14
                                                                                                  MEM. OF LAW IN SUPPORT OF MOTIONS TO DISMISS FOURTH AND FIFTH CLAIMS FOR RELIEF
                                                                                                   AND/OR TO STRIKE SPECIFIED ALLEGATIONS RE PUNITIVE DAMAGES AND NON-EXISTENT
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                                                                                             1             5.         BCR’S PUNITIVE DAMAGES ALLEGATIONS SHOULD BE
                                                                                             2                        STRICKEN FROM THE SECOND AND THIRD CLAIMS FOR
                                                                                             3                        RELIEF BECAUSE THEY ARE CONTRACT CLAIMS ON
                                                                                             4                        WHICH PUNITIVE DAMAGES MAY NOT BE AWARDED
                                                                                             5             BCR alleges that it is entitled to an award of punitive damages in connection
                                                                                             6 with its Second Claim for Relief for contractual bad faith and Third Claim for Relief

                                                                                             7 for breach of contract. Complaint, ¶s 32 and 39. Neither of those claims can

                                                                                             8 support an award of punitive damages as a matter of law. As such, the requests for

                                                                                             9 punitive damages in these claims for relief constitute “immaterial matter” under

                                                                                            10 Rule 12(f) in that they “have no essential important relationship to the claim for

                                                                                            11 relief.” Whittlestone, supra at 974. Further, they constitute “impertinent matter”
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                                                                                            12 under Rule 12(f) in that they do not pertain to and are not necessary to the issues
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                                                                                            13 raised in these claims for relief.

                                                                                            14             California Civil Code Section§ 3294(a) specifies that punitive damages are
                                                                                            15 available “[i]n an action for the breach of an obligation not arising from contract,

                                                                                            16 where it is proven by clear and convincing evidence that the defendant has been

                                                                                            17 guilty of oppression, fraud, or malice….” Thus, punitive damages are not available

                                                                                            18 in actions on a contract. “In the absence of an independent tort, punitive damages
                                                                                            19 may not be awarded for breach of contract 'even where the defendant's conduct in

                                                                                            20 breaching the contract was willful, fraudulent, or malicious.'" Applied Equipment

                                                                                            21 Corp. v. Litton Saudi Arabia Ltd., 7 Cal. 4th 502, 516 (1994); Myers Building

                                                                                            22 Industries, Ltd. v. Interface Technology, Inc., 13 Cal.App.4th 949, 959 (1993); see

                                                                                            23 Crogan v. Metz, 47 Cal. 2d 398, 405 (1956). Simply put, “the law generally does

                                                                                            24 not distinguish between good and bad motives for breaching a contract.” Applied

                                                                                            25 Equipment, supra at 516. “A defendant's evil intent when it breaches an express

                                                                                            26 contractual duty does not enable the plaintiff to recover exemplary damages unless

                                                                                            27 the breach also constitutes a tort.” Haigler v. Donnelly, 18 Cal.2d 674, 680 (1941).

                                                                                            28   10201.001/108734.1                           15
                                                                                                  MEM. OF LAW IN SUPPORT OF MOTIONS TO DISMISS FOURTH AND FIFTH CLAIMS FOR RELIEF
                                                                                                   AND/OR TO STRIKE SPECIFIED ALLEGATIONS RE PUNITIVE DAMAGES AND NON-EXISTENT
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                                                                                             1             BCR’s Third Claim for Relief for breach of contract clearly cannot lead to an
                                                                                             2 award of punitive damages. Nor can BCR’s Second Claim for Relief for breach of

                                                                                             3 the implied covenant of good faith and fair dealing (“bad faith”), which is explicitly

                                                                                             4 pleaded sounding in contract. See Complaint at p. 8. An action for bad faith

                                                                                             5 arising out of an insurance contract sounds in tort or in contract and plaintiff is at

                                                                                             6 liberty to make an election. Frazier v. Metropolitan Life Ins. Co., 169 Cal.App.3d

                                                                                             7 90, 101 (1985). However, if plaintiff elects to proceed under a contract theory, he is

                                                                                             8 precluded from recovering punitive damages. Frazier, supra at 105-107. Here,

                                                                                             9 BCR elected to proceed under a contract theory in its Second Claim for Relief and,

                                                                                            10 hence, cannot obtain a punitive damages award on that claim. 3

                                                                                            11             Accordingly, BCR’s allegations that it is entitled to awards of punitive
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                                                                                            12 damages in its Second and Third Claims for Relief (Complaint, ¶s 32 and 39)
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                                                                                            13 should be stricken.

                                                                                            14             6.         THE PUNITIVE DAMAGES ALLEGATION SHOULD BE
                                                                                            15                        STRICKEN FROM THE FOURTH CLAIM FOR RELIEF
                                                                                            16                        BECAUSE THE ABSENCE OF A DUTY TO DISCLOSE
                                                                                            17                        RENDERS ANY NON-DISCLOSURE INSUFFICIENT TO
                                                                                            18                        WARRANT PUNITIVE DAMAGES
                                                                                            19             BCR alleges that it is entitled to an award of punitive damages on its Fourth
                                                                                            20 Claim for Relief for fraudulent concealment. Complaint, ¶ 47. However, since

                                                                                            21 U.S. Fire had no duty to disclose the matters that were allegedly concealed, the non-

                                                                                            22 disclosure cannot rise to the level of misconduct required for the imposition of

                                                                                            23 punitive damages. As such, the request for punitive damages in this claim for relief

                                                                                            24 constitutes “immaterial matter” under Rule 12(f) in that it has “no essential

                                                                                            25

                                                                                            26   3
                                                                                                     BCR separately pleads a claim for bad faith that it designates as sounding in tort in
                                                                                            27 its First Claim for Relief. See Complaint at p. 7.

                                                                                            28   10201.001/108734.1                            16
                                                                                                     MEM. OF LAW IN SUPPORT OF MOTIONS TO DISMISS FOURTH AND FIFTH CLAIMS FOR RELIEF
                                                                                                      AND/OR TO STRIKE SPECIFIED ALLEGATIONS RE PUNITIVE DAMAGES AND NON-EXISTENT
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                                                                                             1 important relationship to the claim for relief.” Whittlestone, supra at 974. Further,

                                                                                             2 it constitutes “impertinent matter” under Rule 12(f) in that it does not pertain to and

                                                                                             3 is not necessary to the issues raised in this claims for relief.

                                                                                             4             California Civil Code section 3294(a) requires that a defendant be “guilty of
                                                                                             5 oppression, fraud, or malice” before punitive damages can be awarded. Section

                                                                                             6 3294(c)(3) defines the “fraud” that can support an award of punitive damages as, in

                                                                                             7 relevant part, “an intentional … concealment of a material fact known to the

                                                                                             8 defendant with the intention on the part of the defendant of thereby depriving a

                                                                                             9 person of property or legal rights or otherwise causing injury.” As discussed above

                                                                                            10 in Section 4.A. of this motion, U.S. Fire had no duty to disclose its reserving and

                                                                                            11 claim handling policies to BCR either before or after they entered into the Policies.
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                                                                                            12 At neither time was there a fiduciary relationship between the parties that could
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                                                                                            13 require such a disclosure. See California Service Station Assn., supra, 62

                                                                                            14 Cal.App.4th at, 1173 (there is “no special duty in the relationship between an insurer

                                                                                            15 and a potential insured” and that relationship “is not a fiduciary relationship” so

                                                                                            16 there is no duty to disclose); Vu v. Prudential Property & Casualty Ins. Co., 26 Cal.

                                                                                            17 4th 1142, 1150-51 (2001) (the insurer-insured relationship is not fiduciary); Lovejoy

                                                                                            18 v. AT&T Corp., 119 Cal. App. 4th 151, 158 (2004) (the failure to disclose material
                                                                                            19 facts is not actionable fraud in the absence a fiduciary relationship giving rise to a

                                                                                            20 duty to disclose). Because U.S. Fire had no duty to disclose its reserving and claim

                                                                                            21 handling policies to BCR, the non-disclosure of those matters cannot be

                                                                                            22 characterized as “an intentional … concealment … with the intention … of thereby”

                                                                                            23 harming BCR. Accordingly, the “fraud” prerequisite to punitive damages is lacking.

                                                                                            24             In subsection (c)(1), "malice" is defined as “conduct which is intended by the
                                                                                            25 defendant to cause injury to the plaintiff or despicable conduct which is carried on

                                                                                            26 by the defendant with a willful and conscious disregard of the rights or safety of

                                                                                            27 others.” As discussed in the preceding paragraph, failing to disclose matters which

                                                                                            28   10201.001/108734.1                           17
                                                                                                  MEM. OF LAW IN SUPPORT OF MOTIONS TO DISMISS FOURTH AND FIFTH CLAIMS FOR RELIEF
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                                                                                             1 there is no duty to disclose cannot be characterized as intending to cause injury. In

                                                                                             2 addition, it cannot be characterized as “despicable” conduct. Despicable conduct is

                                                                                             3 “conduct which is so vile, base, contemptible, miserable, wretched or loathsome that

                                                                                             4 it would be looked down upon and despised by ordinary decent people. Such

                                                                                             5 conduct has been described as having the character of outrage frequently associated

                                                                                             6 with crime.” Tomaselli v. Transamerica Ins. Co., 25 Cal. App. 4th 1269, 1287

                                                                                             7 (1994). The requirement of despicable conduct is a “substantive limitation on

                                                                                             8 punitive damage awards.” Id. It imposes a “substantially heavier” burden on the

                                                                                             9 plaintiff. Mock v. Michigan Millers Mut. Ins. Co., 4 Cal. App. 4th 306, 331 (1992).

                                                                                            10 The failure to make a disclosure that the law does not require simply cannot be

                                                                                            11 deemed “vile, base, contemptible, miserable, wretched or loathsome.” As such,
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                                                                                            12 U.S. Fire’s alleged non-disclosure cannot supply the “malice” prerequisite to an
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                                                                                            13 award of punitive damages.

                                                                                            14             Finally, in subsection (c)(3) of Section 3294 “oppression” sufficient to incur
                                                                                            15 punitive damages is defined as “despicable conduct that subjects a person to cruel

                                                                                            16 and unjust hardship in conscious disregard of that person's rights.” Again, the

                                                                                            17 requirement of despicable content is a “substantive limitation on punitive damage

                                                                                            18 awards” that requires conduct “so vile, base, contemptible, miserable, wretched or
                                                                                            19 loathsome that it would be looked down upon and despised by ordinary decent

                                                                                            20 people.” Tomaselli, supra at 1257. The failure to disclose matters that the law does

                                                                                            21 not require to be disclosed cannot come within this standard.

                                                                                            22             Because U.S. Fire’s non-disclosure of matters which it had no duty to disclose
                                                                                            23 cannot be characterized as conduct that satisfies any of the prerequisites for an

                                                                                            24 award of punitive damages, BCR’s request in Paragraph 47 of its Complaint for an

                                                                                            25 award of punitive damages should be stricken.

                                                                                            26 / / /

                                                                                            27 / / /

                                                                                            28   10201.001/108734.1                            18
                                                                                                  MEM. OF LAW IN SUPPORT OF MOTIONS TO DISMISS FOURTH AND FIFTH CLAIMS FOR RELIEF
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                                                                                             1             7.         BCR HAS NAMED A NON-EXISTENT ENTITY AS A
                                                                                             2                        DEFENDANT IN THIS CASE AND ALL REFERENCES TO
                                                                                             3                        THAT ENTITY SHOULD BE STRICKEN FROM THE
                                                                                             4                        COMPLAINT
                                                                                             5             As the declarations pages on both of the Policies indicate, the Policies are
                                                                                             6 underwritten by U.S. Fire, which is the contracting party. See Complaint, Exhibits

                                                                                             7 A and B. BCR nevertheless named “Crum and Forster, Inc.” as a defendant in this

                                                                                             8 case. “Crum and Forster, Inc.” is not shown on Exhibit A or B as a party to either of

                                                                                             9 the Policies. Indeed, no “Crum and Forster, Inc.” has existed since September 1993.

                                                                                            10 Accordingly, that entity did not exist at any time relevant to BCR’s purchase of the

                                                                                            11 Policies from U.S. Fire in April 2011 and April 2012. This is demonstrated by the
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                                                                                            12 Delaware Secretary of State’s records on “Crum and Forster, Inc.” which are
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                                                                                            13 attached as Exhibit “A” to the concurrently filed “United States Fire Insurance

                                                                                            14 Company’s Request for Judicial Notice in Support of Its Motion to Strike (“RJN”).

                                                                                            15             Prior to September 3, 1993, Crum and Forster, Inc. was a New Jersey
                                                                                            16 corporation. On September 3, 1993, Crum and Forster, Inc. was merged into ARB,

                                                                                            17 Inc.4 ARB, Inc. was the surviving corporation and Crum and Forster, Inc. ceased to

                                                                                            18 exist. 5 Subsequently, ARB, Inc. changed its name to Talegen Holdings, Inc.6
                                                                                            19 Accordingly, Crum and Forster, Inc. has not existed since September 3, 1993.

                                                                                            20             Because a non-existent entity could not have been involved in BCR’s
                                                                                            21 purchase of the Policies and cannot appear and participate in this action, all

                                                                                            22 references to it should be stricken from the complaint as “immaterial” and/or

                                                                                            23 “impertinent.” Thus: (1) Crum and Forster, Inc.’s name in the caption of the

                                                                                            24
                                                                                                 4
                                                                                            25   RJN, Exhibit “A” at page 3; page 4; page 6, paragraph 1; page 7, paragraph 2.
                                                                                                 5
                                                                                                 RJN, Exhibit “A” at page 4, paragraphs 3 and 4; page 6, paragraph 1; page 7,
                                                                                            26 paragraph 3; page 8, paragraphs 9 and 10.
                                                                                               6
                                                                                            27   RJN, Exhibit “A” at pages 12-14.
                                                                                            28   10201.001/108734.1                            19
                                                                                                     MEM. OF LAW IN SUPPORT OF MOTIONS TO DISMISS FOURTH AND FIFTH CLAIMS FOR RELIEF
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                                                                                             1 Complaint should be stricken; (2) Paragraphs 3 of the Complaint which alleges

                                                                                             2 Crum and Forster, Inc.’s existence and residency should be stricken in its entirety;

                                                                                             3 and (3) the reference to “C&F” in Paragraph 20 of the Complaint should be stricken

                                                                                             4 since BCR defined “C&F” as referring to Crum and Forster, Inc. in Paragraph 3.

                                                                                             5             8.         CONCLUSION
                                                                                             6             For the foregoing reasons, U.S. Fire respectfully requests that the Court (1)
                                                                                             7 dismiss BCR’s Fourth and Fifth Claims for Relief, (2) strike the punitive damages

                                                                                             8 allegations at Paragraphs 32, 39, and 47 in the Second, Third and Fourth Claims for

                                                                                             9 Relief, respectively, and (3) strike the references to non-existent named defendant

                                                                                            10 “Crum and Forster, Inc.” in the caption and in paragraphs 3 and 20.

                                                                                            11 Dated: December 1, 2015                   STECKBAUER WEINHART, LLP
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                           333 S. HOPE STREET, 36TH FLOOR, LOS ANGELES, CALIFORNIA 90071




                                                                                            12
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                                                                                            13                                           By:        /s/ John C. Holmes
                                                                                            14                                                      John C. Holmes
                                                                                                                                         Attorneys for Defendants UNITED STATES
                                                                                            15                                           FIRE INSURANCE COMPANY
                                                                                            16

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                                                                                                  MEM. OF LAW IN SUPPORT OF MOTIONS TO DISMISS FOURTH AND FIFTH CLAIMS FOR RELIEF
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                                                                                                                                    DEFENDANT
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                                                                                             1                                     PROOF OF SERVICE
                                                                                             2 STATE OF CALIFORNIA, COUNTY OF LOS ANGELES

                                                                                             3       At the time of service, I was over 18 years of age and not a party to this
                                                                                               action. I am employed in the County of Los Angeles, State of California. My
                                                                                             4 business address is 333 S. Hope Street, 36th Floor, Los Angeles, CA 90071.

                                                                                             5       On December 1, 2015, I served true copies of the following document(s)
                                                                                               described as DEFENDANT UNITED STATES FIRE INSURANCE
                                                                                             6 COMPANY’S NOTICE OF MOTIONS AND MOTIONS TO DISMISS
                                                                                               FOURTH AND FIFTH CLAIMS FOR RELIEF AND TO STRIKE
                                                                                             7 ALLEGATIONS RE PUNITIVE DAMAGES AND A NON-EXISTENT
                                                                                               NAMED DEFENDANT; MEMORANDUM OF LAW IN SUPPORT
                                                                                             8 THEREOF on the interested parties in this action as follows:

                                                                                             9             Paul Hart, Esq.
                                                                                                           Dennis Lewis, Esq.
                                                                                            10             MONCRIEF & HART, PC
                                                                                                           16 W. Gabilan St.
                                                                                            11             Salinas, CA 93901
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                                                                                            13             E-mail: Dennis@MoncriefHart.com
                                                                                            14             Attorneys for Plaintiff, BOB
                                                                                                           CAMPBELL RANCHES, INC.
                                                                                            15
                                                                                                           BY CM/ECF NOTICE OF ELECTRONIC FILING: I electronically filed
                                                                                            16 the document(s) with the Clerk of the Court by using the CM/ECF system.
                                                                                                 Participants in the case who are registered CM/ECF users will be served by the
                                                                                            17 CM/ECF system. Participants in the case who are not registered CM/ECF users will
                                                                                                 be served by mail or by other means permitted by the court rules.
                                                                                            18
                                                                                                           I declare under penalty of perjury under the laws of the United States of
                                                                                            19 America that the foregoing is true and correct and that I am employed in the office
                                                                                                 of a member of the bar of this Court at whose direction the service was made.
                                                                                            20
                                                                                                           Executed on December 1, 2015, at Los Angeles, California.
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                                                                                                                                              /s/ Elizabeth Cervantes
                                                                                            23                                                Elizabeth Cervantes
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                                                                                                  MEM. OF LAW IN SUPPORT OF MOTIONS TO DISMISS FOURTH AND FIFTH CLAIMS FOR RELIEF
                                                                                                   AND/OR TO STRIKE SPECIFIED ALLEGATIONS RE PUNITIVE DAMAGES AND NON-EXISTENT
                                                                                                                                    DEFENDANT
